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                      Exhibit A
  7/2012017               Case 2:12-md-02323-AB    Document
                                            NFl Concussion        9550-1
                                                           Settlement - ImportantFiled    01/03/18
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                From: Bob Stein <rastein66@aol.com>
                  To: jvenier <jverrier@law.upenn.edu>; pritchet <pritchet@law.upenn.edu>
                 Bee: Oank <Oank@hbsslaw.com>; wfleishman <wfIeishman@lchb.com>; bob <bob@wvfIo.com>
              Subject: NFL Concussion Settfement - Important Clarification Question
            Date: Thu, Jul20. 20171:12 pm
     Attachments: NFL_Concussion_ SetllemenCArt._XVIII-Releases.pdf          (1551<)


     Dear Dean Verrier and Doctor Pritchett-

    I write you in your capacity as Special Masters in this litigation, with a question of
    considerable importance to my clients, class members and present opt outs. Iam an
    attomey representing a large number of the players who opted out of the proposed
    settlement, and a retired NFL player. I initiated the retired NFL players' action Dryer v.
    NFL, relating to publicity rights, and believe I can appropriately pass along your advice
    to many retired players beyond my clients. Coincidentally, I leave today to address a
    retired player summit.

    One of my great concerns is the likelihood that, once a CTE test receives full approval
    for use in diagnosing living patients, it could effectively end settlement benefits to the
    class. If over 95% of retired players symptomatic for TBI issues, like those addressed
    by the Concussion Settlement, have been diagnosed post-mortem with CTE, as I
    believe facts support, it seems equally likely that living symptomatic players will be
    diagnosed with CTE by BAP and MAF physicians once a test for living patients is
    available. Based on post-mortem results, CTE is the overwhelmingly appropriate
    medical diagnosis for suffering members of our group.

    As settlement Article XVIII, sec 18.1(a) (iv) (attached for your convenience) specifically
    releases Claims "arising out of, or relating to, CTE" it appears that virtually all
    symptomatic class members examined for Qualifying Diagnosis by Qualified BAP
    Providers or Qualified MAF Physicians should reasonably expect to be (appropriately)
    diagnosed with CTE once the living person test is medically approved. Would that,
    diagnosis not effectively foreclose further testing to diagnose other diseases, if CTE is
    overwhelmingly diagnosed.C9nsistent with the science now applying to post-mortem
    player diagnoses? And would not that scenario virtually eliminate the likelihood of
    deserving, damaged players receiving a Qualifying Diagnosis for Monetary Award
    according to settlement terms?

    As you no doubt know, CTE tests for living patients are in present development and
    have received multiple levels of required approvals. It would be a great help to m. .. y _
    clientsa~d th~ class if you could confinnthat this scenario will not be permitted.
    Shou~d Its logiC ~~me      future fact, the NFL would seem effectively absolved of
   finanCial responSibility for award payments otherwise agreed upon, by virtue of the CTE
   release.


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     Thank you for addressing this concern. If not dealt with, it would appear to undermine
     settlement intent, and Judge Brody's intent in approving it.

     Respectfully,
     Bob Stein
     M.612-961-7356
     0.612-886-3582
     F. 612-886-2676
     rastein66@aol.com


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